Case 8:18-cv-02869-VMC-CPT Document 64 Filed 05/15/19 Page 1 of 3 PageID 741



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CAYMAN SECURITIES CLEARING
AND TRADING LTD; THE HURRY
FAMILY REVOCABLE TRUST;
SCOTTSDALE CAPITAL ADVISORS
CORPORATION; and ALPINE SECURITIES
CORPORATION,

       Plaintiffs,

v.                                                          Case No. 8:18-cv-02869-VMC-CPT

CHRISTOPHER FRANKEL,

       Defendant.
                                                    /

                       FRANKEL’S OPPOSITION TO
      PLAINTIFFS’ MOTION TO EXTEND EXPERT DISCLOSURE DEADLINES

       The defendant, Christopher L. Frankel, through counsel, opposes the plaintiffs’ motion

(Doc. # 62) to extend the deadlines for disclosing expert reports because the plaintiffs have not

demonstrated good cause for the requested extensions.

                                 MEMORANDUM OF LAW

       The plaintiffs contend that good cause exists for extending the expert disclosure deadlines

because their expert cannot render an opinion “on the value of the confidential information

misappropriated and misused by Frankel” until the plaintiffs obtain further discovery from

Frankel. (Doc. # 62, ¶ 7). But the plaintiffs have not explained why further discovery from

Frankel is required for the plaintiffs to have an expert value the plaintiffs’ confidential

information which the plaintiffs contend was misappropriated.

       Before suing and certainly before being permitted to take discovery, the plaintiffs are

supposed to know what confidential information was misappropriated. Indeed, the rules of



                                                1
Case 8:18-cv-02869-VMC-CPT Document 64 Filed 05/15/19 Page 2 of 3 PageID 742



pleading for claims based on misappropriation require plaintiffs to identify the misappropriated

confidential information in their complaints. See DynCorp Int’l v. AAR Airlift Group, Inc., 664

F.App’x 844, 849–50 (11th Cir. 2016); Am. Registry, LLC v. Hanaw, No. 2013-CV-352-FTM-

29UAM, 2013 WL 6332971, at *3–4 (M.D. Fla. Dec. 5, 2013). The plaintiffs seek extension of

the expert disclosure deadlines because they did not know before suing, and they still do not

know, what confidential information Frankel misappropriated (because he did not misappropriate

any of the plaintiffs’ confidential information). (Frankel’s Declaration, Doc. # 16-1).

       Failure to investigate a claim before suing is not good cause for extending expert

disclosure deadlines or any other case management deadlines.            Putative misappropriation

plaintiffs may not use lawsuits and discovery as a fishing expedition unlawfully to try monitor

activities of potential competitors, or to mold causes of action to try to fit discovery obtained.

Arthrex, Inc. v. Parcus Med., LLC, No. 2:10-CV-151, 2010 WL 11622727, at *1 (M.D. Fla. Dec.

16, 2010). If the plaintiffs investigated and filed their lawsuit in good faith, they should have no

need for further discovery from Frankel to value their confidential information.

       Frankel therefore requests that the plaintiffs’ motion to extend the expert disclosure

deadlines be denied. If the Court grants the plaintiffs’ motion to extend, however, Frankel

requests that his expert disclosure deadline be extended, and that the expert deposition deadline

also be extended, as requested in the plaintiffs’ motion. All other deadlines, including the

deadline for completing fact discovery and the dispositive motion deadline, should remain

unchanged.




                                                 2
Case 8:18-cv-02869-VMC-CPT Document 64 Filed 05/15/19 Page 3 of 3 PageID 743



Dated: May 15, 2019                    By:    /s/ David C. Banker
                                             David C. Banker (Fla. Bar No. 352977)
                                             Harold D. Holder (Fla. Bar No. 118733)
                                             BUSH ROSS, PA
                                             1801 N. Highland Avenue
                                             Tampa, Florida 33602
                                             Phone: 813-224-9255
                                             Fax: 813-223-9620
                                             Primary: dbanker@bushross.com;
                                             hholder@bushross.com
                                             Secondary: aflowers@bushross.com
                                             Attorneys for Defendant

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 15, 2019, all counsel of record who consented to
electronic service are being served with a copy of this document via the Court’s CM/ECF
system. I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to any non-CM/EFC participants:

       Shane B. Vogt, Esquire
       Kenneth G. Turkel, Esquire
       BAJO | CUVA | COHEN | TURKEL
       100 North Tampa Street, Suite 1900
       Tampa, FL 33602
       kturkel@bajocuva.com
       svogt@bajocuva.com

       Charles J. Harder, Esquire
       Jordan Susman, Esquire
       HARDER LLP
       132 South Rodeo Drive, Suite 301
       Beverly Hills, CA 90212-2406
       charder@harderllp.com
       jsusman@harderllp.com
       Attorneys for Plaintiffs

                                       By: /s/ David C. Banker




                                                3
